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                                    Exhibit C

Attorney Checklist Concerning Motion and Order Pertaining to Use of Cash Collateral
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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION
                                                                 §
In re:                                                           §      Chapter 11
                                                                 §
GASTAR EXPLORATION INC., et al.,1                                §      Case No. 18-36057 (MI)
                                                                 §
                                    Debtors.                     §      (Jointly Administered)
                                                                 §

               ATTORNEY CHECKLIST CONCERNING MOTIONS
        AND ORDERS PERTAINING TO USE OF CASH COLLATERAL AND
     POST-PETITION FINANCING (WHICH ARE IN EXCESS OF TEN (10) PAGES)


        Motions and orders pertaining to cash collateral and post-petition financing matters tend
to be lengthy and complicated. Although the Court intends to read such motions and orders
carefully, it will assist the Court if counsel will complete and file this checklist. All references
are to the Bankruptcy Code (§) or Rules (R).

         PLEASE NOTE:

         “*”      Means generally not favored by Bankruptcy Courts in this District.

         “**”     Means generally not favored by Bankruptcy Courts in this District without a
                  reason and a time period for objections.

If your motion or order makes provision for any of the following, so indicate in the space
provided:

                                      CERTIFICATE BY COUNSEL
       This is to certify that the following checklist fully responds to the Court’s inquiry
concerning material terms of the motion and/or proposed order:
                                                                                            Yes, at Page/Exhibit
                                                                                       Y means yes; N means no
                                                                                       N/A means not applicable
                                                                                         (Page Listing Optional)

1.        Identification of Proceedings:
          (a) Preliminary or final motion/order (circle one)................................................ N/A
1
     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, include: Gastar Exploration Inc. (1640), and Northwest Property Ventures LLC (8685). The location
     of the Debtors’ service address is: 1331 Lamar Street, Suite 650, Houston, Texas 77010.
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     (b)    Continuing use of cash collateral (§ 363) .......................................................                    Y
     (c)    New financing (§ 364) ....................................................................................           Y
     (d)    Combination of §§ 363 and 364 financing .....................................................                        Y
     (e)    Emergency hearing (immediate and irreparable harm) ..................................                                Y

2.   Stipulations:
     (a) Brief history of debtor’s businesses and status of debtor’s prior
          relationships with lender .................................................................................            Y
     (b) Brief statement of purpose and necessity of financing. ..................................                               Y
     (c) Brief statement of type of financing (i.e., accounts receivable, inventory) ....                                        Y
     (d) Are lender’s pre-petition security interest(s) and liens deemed valid, fully
          perfected and non-avoidable ...........................................................................                Y
          (i) Are there provisions to allow for objections to above? ............................                                Y
     (e) Is there a post-petition financing agreement between lender and
          debtor? ............................................................................................................   Y
          (i) If so, is agreement attached?.....................................................................                 Y
     (f) Is there is an agreement that lender’s post-petition security interests and
          liens deemed valid, fully perfected and non-avoidable? ................................                                Y
     (g) Is lender undersecured or oversecured (circle one) .......................................                              N/A
     (h) Has lender’s non-cash collateral been appraised? ..........................................                             N
          (i) Insert date of latest appraisal ....................................................................               N/A
     (i) Is debtor’s proposed budget attached?............................................................                       Y
     (j) Are all pre-petition loan documents identified? .............................................                           Y
     (k) Are pre-petition liens on single or multiple assets? (circle one) ....................                                  N/A
     (l) Are there pre-petition guaranties of debt? ......................................................                       Y
          (i) Limited or unlimited? (circle one) ............................................................                    N/A

3.   Grant of Liens:
     (a) Do post-petition liens secure pre-petition debts?............................................                           Y
     (b) Is there cross-collaterization? .........................................................................               N
     (c) Is the priority of post-petition liens equal to or higher than existing liens? ...                                      Y
     (d) Do post-petition liens have retroactive effect? ...............................................                         N
     (e) Are there restrictions on granting further liens or liens of equal or higher
         priority? ..........................................................................................................    Y
     (f) Is lender given liens on claims under §§ 506(c), 544-50 and §§ 522? ...........                                         Y
         (i) Are lender’s attorneys fees to be paid? .....................................................                       Y
         (ii) Are debtor’s attorneys fees excepted from § 506(c)? ...............................                                N
     (g) Is lender given liens upon proceeds of causes of action under §§ 544, 547                                               Y


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            and 548? ..........................................................................................................

4.   Administrative Priority Claims:
     (a) Is lender given an administrative priority? ..................................................... Y
     (b) Is administrative priority higher than § 507(a)? ............................................. Y
     (c) Is there a conversion of pre-petition secured claim to post-petition
         administrative claim by virtue of use of existing collateral? .......................... N

5.   Adequate Protection (§361):
     (a) Is there post-petition debt service? ................................................................. N
     (b) Is there a replacement/addition 361(/) lien? (circle one or both).................... N/A
     (c) Is the lender’s claim given super-priority?
         (§ 364(c) or (d)) [designate] ........................................................................... Y -
                                                                                                                             364(c), (d)
     (d) Are there guaranties? ......................................................................................Y
     (e) Is there adequate Insurance coverage? ...........................................................Y
     (f) Other? .............................................................................................................Y
         Debtors’ comment: Adequate protection includes payment of the
         reasonable and documented fees of the Prepetition Secured Parties.

6.   Waiver/Release Claims v. Lender:
     (a) Debtor waives or release claims against lender, including, but not limited
         to, claims under §§ 506(c), 544-550, 552, and 553 of the Code?................... Y
     (b) Does the debtor waive defenses to claim or liens of lender? .......................... Y

7.   Source of Post-Petition Financing (§ 364 Financing):
     (a) Is the proposed lender also the pre-petition lender? ....................................... Y
     (b) New post-petition lender? ............................................................................... N
     (c) Is the lender an insider? .................................................................................. N

8.   Modification of Stay:
     (a) Is any modified lift of stay allowed? ..............................................................                     Y
     (b) Will the automatic stay be lifted to permit lender to exercise self-help upon
         default without further order? .........................................................................                 N
     (c) Are there any other remedies exercisable without further order of court? .....                                           N
     (d) Is there a provision that any future modification of order shall not affect
         status of debtor’s post-petition obligations to lender? ....................................                             Y

9.   Creditors’ Committee:

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      (a) Has creditors’ committee been appointed? ..................................................... N
      (b) Does creditors’ committee approve of proposed financing? .......................... N/A

10.   Restrictions on Parties in Interest:
      (a) Is a plan proponent restricted in any manner, concerning modification of
           lender’s rights, liens and/or causes? ...............................................................                   Y
      (b) Is the debtor prohibited from seeking to enjoin the lender in pursuit of
           rights? .............................................................................................................   Y
      (c) Is any party in interest prohibited from seeking to modify this order? ..........                                        N
      (d) Is the entry of any order conditioned upon payment of debt to lender? .........                                          N
      (e) Is the order binding on subsequent trustee on conversion? ............................                                   Y

11.   Nunc Pro Tunc:
      (a) Does any provision have retroactive effect? ................................................... Y

12.   Notice and Other Procedures:
      (a) Is shortened notice requested? ........................................................................                  Y
      (b) Is notice requested to shortened list? ..............................................................                    N
      (c) Is time to respond to be shortened? ................................................................                     Y
      (d) If final order sought, have 15 days elapsed since service of
           motion pursuant to Rule 4001(b)(2)? .............................................................                       N/A
      (e) If preliminary order sought, is cash collateral necessary to avoid
           immediate and irreparable harm to the estate pending a final hearing? .........                                         Y
      (f) Is a Certificate of Conference included? ........................................................                        N
      (g) Is a Certificate of Service included? ...............................................................                    N
      (h) Is there verification of transmittal to U.S. Trustee included
           pursuant to Rule 9034? ...................................................................................              N
      (i) Has an agreement been reached subsequent to filing motion? .......................                                       N/A
           (i) If so, has notice of the agreement been served pursuant to Rule
                4001(d)(4)? ...............................................................................................        N/A
           (ii) Is the agreement in settlement of motion pursuant to Rule 4001(d)(4)? ..                                           N/A
           (iii)Does the motion afford reasonable notice of material provisions of
                agreement pursuant to Rule 4001(d)(4)? ..................................................                          N/A
           (iv) Does the motion provide for opportunity for hearing pursuant to Rule
                9014? ........................................................................................................     N/A




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